        Case 4:95-cr-40083-JPG                        Document 441 Filed 01/26/11                      Page 1 of 3             Page ID
                                                                #394
'I!o.A0245D   (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet I




         UNITED STATES OF AMERICA
                              v.
               Lowell Eugene Johnson

                                                                         Case No. 4:95CR40083-004-JPG
                                                                         USM No. 03663-025
                                                                            Melissa Day, AFPD
                                                                                                  Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)            as alleged below                 of the term of supervision.
o was found in violation of condition(s)                _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number              Nature of Violation                                                              Violation Ended
Statutory                          The defendant committed the offense of Failure to Wear Seat                 11/09/2010



Statutory                          The defendant illegally possessed marihuana                                 11/09/2010


       The defendant is sentenced as provided in pages 2 through _---:::3~_ofthisjudgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
economlc clrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 1616                      01/26/2011
                                                                                              Date of Imposition of Judgment
Defendant's Year of Birth:           1959

City and State of Defendant's Residence:
Cairo,IL
                                                                                     fdl1.l12wkf#
                                                                            J. Phil Gilbert                            District Judge
                                                                                                 Name and Title of Judge


                                                                              ~4t,h?//                    Date
      Case 4:95-cr-40083-JPG                       Document 441 Filed 01/26/11              Page 2 of 3        Page ID
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AO 2450   (Rev, 12/07) Judgment in a Criminal Case for Revocations
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DEFENDANT: Lowell Eugene Johnson
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                                                     ADDITIONAL VIOLATIONS

                                                                                                                Violation
Violation Number              Nature of Violation                                                               Concluded
Standard #1                   Defendant left judicial district without permission from probation                11/09/2010




                              probation
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 AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment

                                                                                              Judgment - Page     3      of       3
 DEFENDANT: Lowell Eugene Johnson
 CASE NUMBER: 4:95CR40083-004-JPG


                                                                   IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
*60 months




      o The court makes the following recommendations to the Bureau of Prisons:



      t/ The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
        o as notified by the United States Marshal.
      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o     before 2 p.m. on
           o     as notified by the United States Marshal.
           o     as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                  to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL


                                                                             By
                                                                                        DEPUTY UNITED STATES MARSHAL
